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10

11                           UNITED STATES DISTRICT COURT

12                          EASTERN DISTRICT OF CALIFORNIA

13 ISAAC RAPISURA, an individual, on              Case Number: 22-cv-00455
     behalf of himself and all others similarly
14 situated,                                      Order Re Joint Notice of Settlement
15                                                and Request to Vacate All Current
           Plaintiff,                             Deadlines
16
           v.
17

18 BMW OF NORTH AMERICA, LLC, a
     Delaware limited liability company; and
19 DOES 1 TO 50,
20
           Defendants.
21

22          GOOD CAUSE APPEARING, all hearings and deadlines are hereby vacated.
23    Dated: March 4, 2024
24

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                                                1
         ORDER RE JOINT NOTICE OF SETTLEMENT AND REQUEST TO VACATE ALL CURRENT DEADLINES
